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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                              CHARLOTTESVILLE DIVISION


   BRENNAN M. GILMORE,

          Plaintiff,

   v.                                           No. 3:18-cv-00017-NKM-JCH
  ALEXANDER E. (ALEX) JONES, et al.,

                  Defendants.


                   PLAINTIFF’S MOTION FOR EVIDENTIARY SANCTIONS
                        AGAINST DEFENDANT LEE STRANAHAN

          Pursuant to Rules 37(b)(2) and 37(e) of the Federal Rules of Civil Procedure, Plaintiff

  Brennan Gilmore respectfully moves this Court for sanctions against Defendant Lee Stranahan.

  After months of evasive and dilatory behavior, and despite repeated accommodations from

  Plaintiff and the Court, Mr. Stranahan has failed to produce any responsive articles or posts from

  his website, Citizen Journalism School (“CJS Documents”). Mr. Stranahan failed to take any

  reasonable steps to preserve the CJS Documents, allowing them to be deleted from the only

  server where they were stored well after he was on notice about his obligation to preserve

  evidence. Mr. Stranahan’s failure to preserve these documents results from a lack of good faith

  and apparently deliberate disregard for the Court’s instructions, evidenced in his lengthy history

  of noncompliance with his discovery obligations. Plaintiff will be severely prejudiced by the

  loss of the CJS Documents, particularly given Mr. Stranahan’s broader failure to produce

  adequate discovery responses.     Given the permanent loss of the CJS Documents, Plaintiff

  respectfully submits that an adverse jury instruction is the only way to remedy the harm to

  Plaintiff’s case.
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         For these reasons, Plaintiff requests that the Court impose sanctions under Rule

  37(b)(2)—or, in the alternative, under its inherent authority—by instructing the jury that Mr.

  Stranahan chose to intentionally withhold documents, and that the jury may draw adverse

  inferences from that fact, including that Mr. Stranahan did so because he was aware that the

  documents contained evidence of his liability.

                                          BACKGROUND

         Plaintiff seeks documents from Mr. Stranahan’s website, Citizen Journalism School, that

  are responsive to Plaintiff’s Requests for Production (“RFPs”) Nos. 11, 20, and 24.1            Mr.

  Stranahan does not contest that he is the founder of the Citizen Journalism School website, which

  is devoted to the theme that “the media is the enemy,” and promises to teach paying subscribers

  how to become a “news maker” so that “they can do something about it.” Ex. A.                  The

  documents are referenced in an email produced by Mr. Stranahan, which contains roughly

  twenty broken links to articles about Plaintiff collected by Mr. Stranahan. 2 Ex. B. In the words

  of Mr. Stranahan’s contractee Katie McHugh, the articles constitute a “complete list of Brennan

  Gilmore posts” from the Citizen Journalism School website, and were to serve as the source

  material for “an article with a headline along the lines of ‘7 Takeaways from Lee Stranahan’s

  InfoWars Interview on The Deadly Charlottesville Rally.’” Id. The comments to these articles




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    RFP No. 11 requests that Mr. Stranahan “[p]roduce all documents concerning Plaintiff
  appearing on any website or online video channel ever owned, controlled, or used by you,
  including any postings or comments by you or others appearing on those websites or online
  video channels.” RFP No. 20 requests that Mr. Stranahan “[p]roduce all documents identifying
  the methods by which you have investigated the accuracy of claims made by you, or entities in
  which you have or had ownership and/or control, concerning Plaintiff.” RFP No. 23 requests
  that Mr. Stranahan “[p]roduce all documents (regardless of creation date) setting forth your
  editorial standards or guidelines, or the standards or guidelines of any entity that you own and/or
  control, from August 11, 2017 through the present.” See Ex. C (Plaintiff’s First Set of RFPs to
  Defendant Stranahan) at 6-7.


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  would have presumably shown how Mr. Stranahan’s audience interpreted his accusations against

  Plaintiff, including whether they considered the articles to be factual. Mr. Stranahan may also

  have responded to comments on the articles, which would have been probative of the actual

  malice associated with his comments about Brennan Gilmore in his InfoWars interview.

            Mr. Stranahan has amassed a long record of evasive and noncompliant behavior with

  respect to Plaintiff’s requests for the CJS Documents. Plaintiff first served Mr. Stranahan with

  document requests on March 5, 2020. See Ex. C (Plaintiff’s First Set of RFPs to Defendant

  Stranahan) at 10. Even after consenting to multiple extensions, Plaintiff was forced to move to

  compel responses from Mr. Stranahan on July 2, 2020 due to his continued failure to produce a

  single document and his impermissibly vague responses to Plaintiff’s RFPs that were simply

  copied from the responses of other defendants. D.I. 197. On July 17, 2020, this Court granted

  Plaintiff’s request and ordered that Mr. Stranahan provide within 21 days “complete revised

  responses to Plaintiff’s . . . requests for production of documents” and to “state whether

  responsive material is being withheld on the basis of [any] objection[s].” D.I. 202 at 1.

            Mr. Stranahan ignored the Court’s order, making his first “production” four days after the

  Court’s deadline on August 11, 2020 in the form of a corrupted file that Plaintiff’s counsel was

  unable to access. Sayeed Decl. ¶ 4; Ex. D. On August 17, 2020, Plaintiff’s counsel conferred

  with Mr. Stranahan and he advised that he would submit his complete responses to Plaintiff’s

  RFPs by August 21, 2020. Sayeed Decl. ¶ 5; Ex. E. Mr. Stranahan again failed to fulfill that

  assurance and made no further communication, prompting Plaintiff to contact him again ten days

  later. Sayeed Decl. ¶ 6; Ex. F. On September 2, 2020, Mr. Stranahan stated that his production

  was not complete but that he expected to finalize it by September 7, 2020. Sayeed Decl. ¶ 7; Ex.



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      Mr. Stranahan has not disputed the responsiveness of the lost articles to Plaintiff’s RFPs. Mar.


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  G at 7-8. Mr. Stranahan yet again failed to comply with this self-imposed deadline.

         Plaintiff emailed Mr. Stranahan on September 8, 2020 to inquire again about his failure to

  produce either RFP responses or documents. Sayeed Decl. ¶ 7; Ex. G at 6. Mr. Stranahan said

  that he would provide additional responsive documents the same day. Sayeed Decl. ¶ 7. The

  next day, on September 9, 2020, after a meet-and-confer, Mr. Stranahan provided a list of broken

  internet links to his articles on the Citizen Journalism School website that Plaintiff’s counsel

  could not access, although the article titles contained in the links showed that the articles were

  plainly responsive to Plaintiff’s RFPs. Id.; Ex. G at 2-4.

         Plaintiff’s counsel explained to Mr. Stranahan that he needed to produce viewable

  versions of the CJS Documents, Sayeed Decl. ¶ 8, and on October 5, 2020, Mr. Stranahan made

  a Bates-stamped production of the same nine email chains he had sent previously, but no other

  material. Sayeed Decl. ¶ 8; Ex. H. Plaintiff’s counsel once again inquired about Mr. Stranahan’s

  production at a meet and confer on November 6, 2020. Sayeed Decl. ¶ 9; Ex. I. On the call, Mr.

  Stranahan stated that he would continue his efforts to produce the remaining responsive material,

  and that he would provide an update by November 9, 2020. Sayeed Decl. ¶ 9. On that date, Mr.

  Stranahan sent an email to Plaintiff saying “I don’t see any posts on Citizen Journalism School.”

  Sayeed Decl. ¶ 9; Ex. J. After Plaintiff followed up with him on November 13, 2020, Mr.

  Stranahan said that he could not locate the CJS Documents.

         Having received no more documents from Mr. Stranahan, Plaintiff reiterated his concerns

  about the lack of production at a meet-and-confer on January 13, 2021. Sayeed Decl. ¶ 10; Ex.

  K. Mr. Stranahan said that he had taken steps to access the CJS Documents by contacting

  potential custodians of that material, and that by January 15, 2021, he would provide Plaintiff



  31, 2021 Hr’g (D.I. 259) at 43:16-23 (admitting that the posts concerned Mr. Gilmore).


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  with a letter outlining his plan to move forward with discovery. Id. During the same conferral,

  Plaintiff provided notice to Mr. Stranahan of Plaintiff’s intent to seek relief from the Court in the

  absence of meaningful production. Id.

          Yet again, Mr. Stranahan failed to follow through. He did not provide any letter detailing

  his discovery efforts on January 15, 2021, instead stating that he had reached out to two potential

  custodians of his Citizen Journalism School postings and would “expect to have more material

  on . . . January 19th after this holiday weekend.” Sayeed Decl. ¶ 11; Ex. L. Like all of his

  previous promises over the past five months, Mr. Stranahan let this new deadline lapse. Sayeed

  Decl. ¶ 11.

          For the first time, at the February 3, 2021 hearing before the Court, Mr. Stranahan said

  the CJS Documents were “gone. . . . It does not exist.” Feb. 3, 2021 Hr’g (D.I. 242) at 22:17,

  25:1-2; 28:23; see id. (“There’s no way to give them the information, that I can see, and I spent

  hours on this.”). Mr. Stranahan claimed that the documents were lost as a result of his transfer of

  files by his son, Shane Stranahan, to a new server. Id. at 22:17-4, 25:4-8. He also said that he

  had spoken with his contractee Katie McHugh, and she did not have the documents. Id. at 22:22-

  23:3.   The Citizen Journalism School website remains accessible on the Internet, and Mr.

  Stranahan’s position appears to be that only the CJS Documents have been lost. Id. at 25:1-14,

  28:17-25. At the Court’s instruction, id. at 29:1-12, Plaintiff sought unsuccessfully to contact

  both Shane Stranahan and Katie McHugh using contact information provided by Mr. Stranahan.

  See Sayeed Decl. ¶ 12; Exs. M-N. Plaintiff informed the Court of that fact on March 31, 2021,

  and the Court granted Plaintiff leave to file a motion for sanctions with respect to the CJS




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  Documents. 3

                                        LEGAL STANDARD

         Rule 37(b)(2) of the Federal Rules of Civil Procedure grants broad discretion to courts to

  impose sanctions if “a party . . . fails to obey an order to provide or permit discovery.” Fed. R.

  Civ. P. 37(b)(2)(A); Sines v. Kessler, No. 3:17-CV-00072, 2020 WL 7028710, at *1 (W.D. Va.

  Nov. 30, 2020). Sanctions may include “directing that the matters embraced in the order or other

  designated facts be taken as established for purposes of the action, as the prevailing party

  claims,” and “prohibiting the disobedient party from supporting or opposing designated claims or

  defenses, or from introducing designated matters in evidence.” Fed. R. Civ. P. 37(b)(2)(A)(i)-

  (ii). A court may also award sanctions for discovery violations pursuant to its inherent authority.

  See, e.g., Projects Mgmt. Co. v. Dyncorp Int’l LLC, 734 F.3d 366, 375 (4th Cir. 2013) (“[A]

  court acting under its inherent authority may impose sanctions for any conduct utterly

  inconsistent with the orderly administration of justice.” (quotation omitted)); Sampson v. City of

  Cambridge, 251 F.R.D. 172, 178–79 (D. Md. 2008). 4

         The Fourth Circuit has “developed a four-part test for a district court to use when



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    Mr. Stranahan has also failed to meet the April 9 and April 14, 2021 deadlines set by the Court
  for producing the transcripts for his Periscope videos and discovery responses to Plaintiff’s
  second set of discovery requests. Mar. 31, 2021 Hr’g (D.I. 259) at 64:13-16; D.I. 255. Mr.
  Stranahan has blamed his vision issues but he has been able to Tweet and email regularly.
  Plaintiff has sought through an email to Ms. Dotson to request the Court’s help to seek the
  relevant and overdue discovery from Mr. Stranahan, and that request is respectfully
  repeated here.
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    The factors courts consider in exercising their inherent authority are similar to those applied
  under Rule 37: “(1) the degree of the wrongdoer’s culpability; (2) the extent of the client’s
  blameworthiness if the wrongful conduct is committed by its attorney, recognizing that [the
  court] seldom dismiss[es] claims against blameless clients; (3) the prejudice to the judicial
  process and the administration of justice; (4) the prejudice to the victim; (5) the availability of
  other sanctions to rectify the wrong by punishing culpable persons, compensating harmed
  persons, and deterring similar conduct in the future; and (6) the public interest.” Projects Mgmt.
  Co. v. Dyncorp Int’l LLC, 734 F.3d 366, 373-74 (4th Cir. 2013) (quotation omitted).


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  determining what sanctions to impose” under Rule 37(b)(2)(A). Belk v. Charlotte-Mecklenburg

  Bd. Of Educ., 269 F.3d 305, 348 (4th Cir. 2001); see S. States Rack & Fixture, Inc. v. Sherwin-

  Williams Co., 318 F.3d 592, 597 (4th Cir. 2003). The court must consider: “(1) whether the non-

  complying party acted in bad faith, (2) the amount of prejudice that noncompliance caused the

  adversary, (3) the need for deterrence of the particular sort of non-compliance, and (4) whether

  less drastic sanctions would have been effective.” S. States, 318 F.3d at 597 (quoting Anderson

  v. Found. for Advancement, Educ. & Emp. of Am. Indians, 155 F.3d 500, 504 (4th Cir. 1998)).

         Under Rule 37(e), a movant must satisfy four threshold requirements before a court

  decides if any spoliation sanction is appropriate: “(1) ESI should have been preserved; (2) ESI

  was lost; (3) the loss was due to a party’s failure to take reasonable steps to preserve the ESI; and

  (4) the ESI cannot be restored or replaced through additional discovery.” Steves & Sons, Inc. v.

  JELD-WEN, Inc., 327 F.R.D. 96, 104 (E.D. Va. 2018). Under Rule 37(e), courts may enter an

  adverse inference “only upon finding that the party acted with the intent to deprive another party

  of the information's use in the litigation.” Id.

         When acting pursuant to their inherent authority, courts have “broad discretion in

  choosing an appropriate sanction for spoliation” in order to “preserve the integrity of the judicial

  process.” Silvestri v. Gen. Motors Corp., 271 F.3d 583, 590 (4th Cir. 2001). When imposing

  sanctions, “a court must find some degree of fault,” and “consider the degree of culpability and

  the extent of the prejudice, if any.” Id.; E.I. du Pont de Nemours & Co. v. Kolon Indus., Inc.,

  803 F. Supp. 2d 469, 499-500 (E.D. Va. 2011). An adverse inference instruction requires “a

  showing that the party knew the evidence was relevant to some issue at trial and that his willful

  conduct resulted in its loss or destruction.” Vodusek v. Bayliner Marine Corp., 71 F.3d 148, 156

  (4th Cir. 1995).




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                                           ARGUMENT

         After a series of missed discovery deadlines, Mr. Stranahan finally announced at the

  Court’s March 31, 2021 hearing that the CJS Documents have been irretrievably deleted from

  the server for his website. See supra at 5. By failing to preserve the CJS Documents, Mr.

  Stranahan prejudices Plaintiff in a way that goes to the heart of Plaintiff’s case. Mr. Stranahan

  has deprived Plaintiff of at least 20 different articles that directly addressed Plaintiff and the

  events at the Charlottesville Unite the Right Rally. This evidence would have been probative of

  Mr. Stranahan’s state of mind with respect to Plaintiff and to the manner in which Mr.

  Stranahan’s audience received his statements—both matters that are essential to Plaintiff’s claim

  against Mr. Stranahan. See supra at 2-3. Given that the evidence is now irrecoverable, the only

  remedy for the harm caused by Mr. Stranahan’s failure to take any reasonable steps to preserve

  the CJS Documents is a jury instruction permitting the jury to make adverse inferences about

  their content.

  I.     MR. STRANAHAN FAILED TO PRESERVE AND PRODUCE THE CJS
         DOCUMENTS WILLFULLY AND IN BAD FAITH

         There is ample basis for the Court to conclude that Mr. Stranahan’s failure to preserve the

  CJS Documents was willful or in bad faith. Mr. Stranahan’s lengthy history of evasive and

  dilatory behavior reflects a pattern of deliberate disregard for discovery obligations that goes

  well beyond mere negligence. Some of Mr. Stranahan’s own excuses for his discovery failures

  only serve to further undermine his credibility. Moreover, Mr. Stranahan has clearly been on

  notice about his preservation obligations since well before the events he claims caused the loss of

  the CJS Documents. As the owner of the Citizens Journalism School website, Mr. Stranahan had

  authority to manage the content on the website, and failed to use that authority to preserve

  responsive documents according to his obligations.



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         The willfulness of Mr. Stranahan’s failure to preserve and produce the CJS Documents is

  clear from his repeated defiance of discovery deadlines, including deadlines set by the Court as

  well as those negotiated by Plaintiff. See supra at 3-5; Sines, 2020 WL 7028710, at *14 (finding

  bad faith based in part on the noncomplying party’s “broken promises” and “halfhearted steps

  towards compliance”); Certain Underwriters at Lloyd’s, London Subscribing to Pol’y No.

  BO823PP1308460 v. AdvanFort Co., No. 1:18-cv-1421 (TSE/TCB), 2019 WL 3366103, at *8

  (E.D. Va. July 25, 2019) (“In the Fourth Circuit, ‘bad faith includes willful conduct, where the

  party “clearly should have understood his duty to the court” but nonetheless “deliberately

  disregarded” it.” (quoting Axiom Res. Mgmt., Inc. v. Alfotech Sols., LLC, No. 1:10cv1011

  (LMB/JFA), 2011 WL 2560096, at *7 (E.D. Va. June 3, 2011))). Mr. Stranahan failed to timely

  comply with the Court’s previous motion to compel, making a deficient and incomplete

  production several days after the deadline set by the Court. See supra at 3. He has also ignored

  deadlines offered by Plaintiff in good-faith efforts to accommodate him. See supra at 3-5.

         Mr. Stranahan has cited a wide range of shifting excuses over this long period of

  noncompliance. For example, in explanation of his failure to produce emails sent from his own

  account, Mr. Stranahan said at a meet and confer that he didn’t send any emails—yet, the

  handful of emails that Mr. Stranahan did produce included responses to emails he had sent. See

  Sayeed Decl. ¶ 13, Ex. O at 000014-19, 000024. Mr. Stranahan has also cited his own technical

  inability when explaining his failure to produce or preserve documents, alleging that he lacks

  technical competency to access the videos and postings on his Citizen Journalism School

  website. See Ex. L (“[Mr. Stranahan’s son] has the tech knowledge.”). Yet, his website suggests

  a robust understanding of internet infrastructure, purporting to teach paying subscribers how to

  set up their own websites, and even offering to manage their servers. See Ex. P. Further, the fact




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   that the Citizen Journalism School currently charges paying users up to $995 for courses suggest

   that Mr. Stranahan has robust technical support. Id. at 4. Plaintiff submits that Mr. Stranahan’s

   sudden claim of technical incompetency is simply not credible. Regardless, those excuses are

   insufficient to justify his Mr. Stranahan’s failure to preserve relevant discovery.

          Mr. Stranahan has had notice of his duty to preserve documents since at least March 13,

   2018, when he received Plaintiff’s complaint and notice of his allegations. Mr. Stranahan

   claimed that the loss of the CJS Documents was caused when the website was transferred to a

   new domain “about a year ago.” Feb. 3, 2021 Hr’g (D.I. 242) at 22:17-19. That would date the

   loss to approximately March 2020, two full years after Stranahan’s preservation obligations

   arose. Moreover, Mr. Stranahan is the owner of the Citizens Journalism School website, which

   means that he bears ultimate responsibility for the disposition of the documents at issue. Id. at

   21:16-17. On February 7, 2020, just prior to the time Mr. Stranahan claims the loss of the CJS

   Documents occurred, Mr. Stranahan informed Plaintiff that he had “lost all messages” on his

   “phone from over a year.” See Ex. Q at 1. Mr. Stranahan’s prior failure to preserve his text

   messages seemingly did not result in any increase in care or good faith in preserving the CJS

   Documents. Taken in sum, these facts illustrate bad faith.

   II.    MR. STRANAHAN’S ACT OF SPOLIATION IS PREJUDICIAL TO
          PLAINTIFF’S CASE

          Mr. Stranahan’s failure to preserve and produce the CJS Documents is deeply prejudicial

   to Plaintiff’s case, on both substantive and procedural grounds. Mr. Stranahan has not disputed

   the responsiveness of these documents or Plaintiff’s entitlement to them through discovery. Mar.

   31, 2021 Hr’g (D.I. 259) at 43:16-23 (admitting that the posts concerned Mr. Gilmore). The

   links in the email from Ms. McHugh referred to at least 20 articles, all of which directly

   addressed Plaintiff and the events at the heart of this case. Ex. B. Those articles were very likely



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   to contain material probative of Mr. Stranahan’s actual malice, and of whether his audience

   received his statements as fact. The Court has previously recognized that “indirect evidence is

   often key to proving actual malice,” D.I. 219 at 8, and that “evidence of motive and of departure

   from accepted journalistic standards relevant to the actual malice inquiry.” Id. (citing Harte-

   Hanks Commc’ns, Inc. v. Connaughton, 491 U.S. 657, 668 (1989); cf. Sines, 2020 WL 7028710,

   at *14 (“discovery was especially critical in this case because it is inherently difficult to prove a

   conspiracy,” which is “usually proven by circumstantial evidence” (quotation omitted)).

   Moreover, the Court has observed that “[e]vidence created after the date of publication may be

   relevant to actual malice if it addresses the defendant’s state of mind at the time of publication.”

   D.I. 219 at 12.

          Mr. Stranahan’s conduct has also resulted in procedural prejudice to Plaintiff. See Sines,

   2020 WL 7028710, at *14 (“Stalling and ignoring the direct orders of the court with impunity is

   misconduct that must obviously be deterred and will be sanctioned as justice requires.”

   (quotation and quotation marks omitted)); First Mariner Bank v. Resolution Law Grp., Civ. No.

   MJG-12-1133, 2013 WL 5797381, at *10 (D. Md. Oct. 24, 2013) (“[P]iecemeal, less than

   complete and slow production takes a toll and inflicts a disadvantage on the requesting party. . . .

   It is wearing, counter-productive, wholly unacceptable and sanctionable.”). Mr. Stranahan’s

   noncompliance has greatly burdened both Plaintiff and the Court, jeopardizing the orderly

   progress of the case and the parties’ ability to complete discovery according to the Court’s

   schedule, and consuming judicial resources by forcing Plaintiff repeatedly to resort to the Court’s

   intervention.




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   III.   A JURY INSTRUCTION ON ADVERSE INFERENCE IS AN APPROPRIATE
          SANCTION

          There is no dispute that the CJS Documents are irrecoverable. Mar. 31, 2021 Hr’g (D.I.

   259) at 44:25-45:11.    Plaintiff submits that the only possible remedy for Mr. Stranahan’s

   noncompliance is a jury instruction permitting the jury to make an adverse inference regarding

   the contents of the CJS Documents. Mr. Stranahan’s conduct exemplifies the type of deterrable

   conduct that Rule 37 sanctions are meant to prevent, considering the cost to the Court’s resources

   and to the parties. See supra at 11. Moreover, an adverse inference is not the most severe

   sanction the Court could impose, which would be a default judgment.            Thus, an adverse

   inference instruction would not raise the same fairness concerns that outright judgment against

   Mr. Stranahan would have, and thus does not require a finding that Mr. Stranahan showed

   flagrant bad faith or callous disregard. See Wilson v. Volkswagen of Am., Inc., 561 F.2d 494, 503

   (4th Cir. 1977) (noting that default judgment is reserved for egregious cases of misconduct).

                                           CONCLUSION

          For all the foregoing reasons, Plaintiff respectfully requests that the Court impose

   sanctions under Rule 37—or, in the alternative, under its inherent authority—by instructing the

   jury that Mr. Stranahan deliberately withheld or destroyed the CJS Documents, and that the jury

   may draw adverse inferences from that fact, including that Mr. Stranahan did so because he was

   aware that the documents contained evidence of his liability.




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   Dated: April 19, 2021              Respectfully submitted,

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                                     RULE 37 CERTIFICATION

          I hereby certify that the counsel for Plaintiff have in good faith conferred with Mr.

   Stranahan in an effort to obtain the discovery that is the subject of this motion without seeking

   Court action, and those efforts were unsuccessful.



                                                                   /s/ Hassen A. Sayeed
                                                                     Hassen A. Sayeed




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                                CERTIFICATE OF SERVICE

          I hereby certify that on this 19th day of April, 2021, a copy of the foregoing Motion for

   Sanctions against Defendant Lee Stranahan was served on all parties via the Court’s Electronic

   Case Filing system, and separately sent via electronic mail to Mr. Lee Stranahan, Mr. Scott

   Creighton, and Mr. Derrick Wilburn.

                                                                /s/ Hassen A. Sayeed
                                                                  Hassen A. Sayeed




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